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                               United States District Court
                                   SOUTHERN DISTRICT OF GEORGIA
                                        BRUNSWICK DIVISION

                        CHANGE OF PLEA/ENTRY OF PLEA MINUTES


Case No. CR218-14
United States of America
          vs.                                                     Karl Knoche
                                                                  ____________________________________
Richard Carter
1:35 - 2:05                                                       U. S. Attorney
___________________________                                       Thomas Peterson
                                                                  ____________________________________
 Defendant/Age                                                    Attorney for Defendant


    ✔ Plea agreement (Received).                ✔ Defendant Sworn                  Counsel Waived.

        Plea agreement previously filed.

        Arraigned and plead _______________________ to count(s) _________________________________ .
    ✔ Plea of not guilty withdrawn and plea of _________________________________
                                                             Guilty              entered as to count(s)
              23 - lesser included
        ____________________________ of the indictment/information.
                                            indictment.
                                                                                     S/A Souza
    ✔ Factual basis Established. Oral. Plea
                    __________________      Accepted Witness for factual basis ____________________ .
                                       ____________
    ✔ Adjudication of guilt ________
                             Made.
    ✔ Referred to probation office for pre-sentence investigation Yes.
                                                                  ____
    ✔ Sentencing Scheduled for _________________________
                                       Later Date                        TBD
                                                         at ______________________________ .
    ✔ Bond Continued        Yes.
                            ____            Bond modified to _________________________ .

        Bond set at _____________________     _________

        Bond not made defendant in jail.

        Defendant remanded to custody of United States Marshal.




Honorable Lisa Godbey Wood, U. S. District Court Judge            Date 09/21/2018
Court Reporter       Debra Gilbert                                Probation Officer Alex Wade
Courtroom Deputy Clerk      Whitney Sharp                         U.S. Marshal Marty
